      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 1 of 13



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- X
                                       :               17cv3064(DLC)
YAKEZ THOMPSON,                        :
                         Plaintiff,    :             OPINION AND ORDER
                                       :
                -v-                    :
                                       :
THE CITY OF NEW YORK, NEW YORK CITY    :
POLICE OFFICER ROSANNA CAPELLAN (In an :
Individual Capacity and In an Official :
Capacity), and NEW YORK CITY POLICE    :
OFFICER JOHN DOE (fictitious name),    :
JOHN DOE (In an Individual Capacity    :
and In an Official Capacity),          :
                                       :
                         Defendants.   :
                                       :
-------------------------------------- X

APPEARANCES:

Counsel for Plaintiff:
Lawrence P. LaBrew
Law Offices of Lawrence LaBrew
160 Broadway, Suite 600
New York, NY 10005

Counsel for Defendants:
Erin T. Ryan
New York City Law Department
100 Church Street
New York, NY 10007


DENISE COTE, District Judge:

     Plaintiff Yakez Thompson (“Thompson”) brings this lawsuit

pursuant to Section 1983 against the City of New York (“the

City”) and two police officers, Rosanna Capellan (“Capellan”)

and an unnamed officer (collectively “Defendants”).          The
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 2 of 13



Defendants have moved for summary judgment on all claims.              For

the reasons set forth below, this motion is granted.



                               Background

     The following facts are undisputed or taken in the light

most favorable to Thompson, unless otherwise noted.          This

lawsuit arises out of Thompson’s arrest on April 27, 2014.

Thompson was employed at the time as a driver with a company

that contracts with the Metropolitan Transit Authority to

provide transportation to individuals with disabilities.            That

evening, while working, Thompson double parked the vehicle he

was driving in order to help a customer exit the vehicle.              While

parked, Thompson got into an altercation with Angel Porles

(“Porles”), who was in a car behind Thompson’s vehicle.          The

parties dispute what transpired during this altercation.            All

agree that Thompson punched Porles in the face and chest.

According to Thompson, Porles physically attacked him without

provocation and Thompson struck Porles in self-defense.

Thompson returned to his car and drove off.

     After leaving the scene, Thompson called 911.         Two police

officers, Bienvenido Castillo (“Castillo”) and Jose Hernandez,

arrived at the scene of the altercation, where Porles remained.

Castillo spoke with Porles and observed injuries to his head,



                                    2
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 3 of 13



including bleeding and bruises.      Porles was then taken by

ambulance to a hospital.

     Thompson returned to the scene, where he was also

interviewed by Castillo.     Thompson told the police, both when he

called 911 and when he returned to the scene, that he had been

attacked first.    Capellan, who had arrived at the scene after

the other two officers, overheard Thompson telling Castillo that

he had been assaulted.     When Castillo spoke to Capellan, he told

her that Thompson “went to the victim . . . and he started

punching the victim, and then he went around the vehicle by the

driver’s side.    He dragged the victim from the inside of the

vehicle, and he started punching him and kicking him.”

     Thompson was arrested.     According to the Defendants,

Castillo made the decision to arrest Thompson and effectuated

his arrest.    Thompson’s arrest was subsequently assigned to

Capellan, who processed the arrest and completed the related

paperwork.    The criminal complaint incorrectly states that

Capellan was “informed by Angel Porles” of the details of the

incident.    Thompson insists that Capellan was the arresting

officer.

     Thompson was arraigned on charges of assault in the third

degree, aggravated harassment in the second degree, attempted

assault in the third degree, and harassment in the second



                                    3
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 4 of 13



degree.   These charges were dismissed on December 8, 2014 on

speedy trial grounds.

     Thompson filed this lawsuit on April 26, 2017.          The

Complaint contains five federal claims for false arrest, false

imprisonment, malicious prosecution, a violation of substantive

due process rights, and municipal liability.        The motion for

summary judgment that is the subject of this Opinion was filed

on October 5, 2018.



                               Discussion

     Summary judgment may not be granted unless all of the

submissions taken together “show[ ] that there is no genuine

dispute as to any material fact and the movant is entitled to

judgment as a matter of law.”      Fed. R. Civ. P. 56(a).      “Summary

judgment is appropriate when the record taken as a whole could

not lead a rational trier of fact to find for the non-moving

party.”   Smith v. Cnty. of Suffolk, 776 F.3d 114, 121 (2d Cir.

2015) (citation omitted).     The moving party bears the burden of

demonstrating the absence of a material factual question, and in

making this determination, the court must view all facts in the

light most favorable to the non-moving party.        See Eastman Kodak

Co. v. Image Technical Servs., Inc., 504 U.S. 451, 456 (1992);

Gemmink v. Jay Peak Inc., 807 F.3d. 46, 48 (2d Cir. 2015).

“[W]here the evidentiary matter in support of the motion does

                                    4
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 5 of 13



not establish the absence of a genuine issue, summary judgment

must be denied even if no opposing evidentiary matter is

presented.”   Sec. Ins. Co. of Hartford v. Old Dominion Freight

Line Inc., 391 F.3d 77, 83 (2d Cir. 2004) (citation omitted)

(emphasis omitted).

     Once the moving party has asserted facts showing that the

non-movant’s claims or affirmative defenses cannot be sustained,

“the party opposing summary judgment may not merely rest on the

allegations or denials of his pleading; rather his response, by

affidavits or otherwise as provided in the Rule, must set forth

specific facts demonstrating that there is a genuine issue for

trial.”   Wright v. Goord, 554 F.3d 255, 266 (2d Cir. 2009)

(citation omitted).    “[C]onclusory statements, conjecture, and

inadmissible evidence are insufficient to defeat summary

judgment,” Ridinger v. Dow Jones & Co. Inc., 651 F.3d 309, 317

(2d Cir. 2011) (citation omitted), as is “mere speculation or

conjecture as to the true nature of the facts.”         Hicks v.

Baines, 593 F.3d 159, 166 (2d Cir. 2010) (citation omitted).

Only disputes over material facts will properly preclude the

entry of summary judgment.     Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986).    “An issue of fact is genuine and material

if the evidence is such that a reasonable jury could return a

verdict for the nonmoving party.”       Cross Commerce Media, Inc. v.

Collective, Inc., 841 F.3d 155, 162 (2d Cir. 2016).

                                    5
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 6 of 13



False Arrest and Imprisonment

     Thompson’s first two claims are for false arrest and false

imprisonment in violation of the Fourth and Fourteenth

Amendments.    Under federal law, “[f]alse arrest and false

imprisonment are largely synonymous.”       Jenkins v. City of New

York, 478 F.3d 76, 88 n.10 (2d Cir. 2007) (citation omitted).

In assessing Fourth Amendment claims of false arrest brought

under Section 1983, courts look to the law of the state in which

the arrest occurred.    Russo v. City of Bridgeport, 479 F.3d 196,

203 (2d Cir. 2007).    A false arrest claim under New York law

requires a plaintiff to prove “(1) the defendant intended to

confine the plaintiff, (2) the plaintiff was conscious of the

confinement, (3) the plaintiff did not consent to the

confinement and (4) the confinement was not otherwise

privileged.”    Liranzo v. United States, 690 F.3d 78, 95 (2d Cir.

2012) (citation omitted).

     “To avoid liability for a claim of false arrest, an

arresting officer may demonstrate that either (1) he had

probable cause for the arrest, or (2) he is protected from

liability because he has qualified immunity.”        Simpson v. City

of New York, 793 F.3d 259, 265 (2d Cir. 2015).         An officer “has

probable cause to arrest when he or she has knowledge or

reasonably trustworthy information of facts and circumstances

that are sufficient to warrant a person of reasonable caution in

                                    6
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 7 of 13



the belief that the person to be arrested has committed or is

committing a crime.”    Garcia v. Does, 779 F.3d 84, 92 (2d Cir.

2015) (citation omitted).     “Probable cause is determined on the

basis of facts known to the arresting officer at the time of the

arrest.”   Shamir v. City of New York, 804 F.3d 553, 557 (2d Cir.

2015) (citation omitted).     “[U]nder the collective or imputed

knowledge doctrine, an arrest is permissible where the actual

arresting officer lacks the specific information to form the

basis for probable cause but sufficient information to justify

the arrest was known by other law enforcement officials

initiating the investigation.”      Brown v. City of New York, 798

F.3d 94, 99 (2d Cir. 2015) (citation omitted).

      “[U]nder some circumstances, a police officer's awareness

of the facts supporting a defense can eliminate probable cause.”

Jocks v. Tavernier, 316 F.3d 128, 135 (2d Cir. 2003).          While

there is no duty imposed on an arresting officer “to investigate

exculpatory defenses offered by the person being arrested or to

assess the credibility of unverified claims of justification

before making an arrest,” once an officer learns of facts that

can establish a defense eliminating probable cause, such as

acting in self defense, an officer may not “deliberately

disregard facts known to him which establish justification.”

Id. at 136.   But, “[p]robable cause does not necessarily

disappear simply because an innocent explanation may be

                                    7
      Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 8 of 13



consistent with facts that an officer views as suspicious.”

Figueroa v. Mazza, 825 F.3d 89, 102 (2d Cir. 2016) (citation

omitted).

     Thompson’s claims for false arrest and imprisonment fail

because there was probable cause for his arrest.         Whether

Capellan is deemed the arresting officer or not, it is

undisputed that it was Castillo who made the decision to arrest

Thompson.   Castillo interviewed both Porles and Thompson

regarding what transpired between them.       Based on their

statements and his observations of the injuries to Porles,

Castillo determined that there was probable cause to arrest

Thompson for assault.    Cappellan and the other officers involved

with Thompson’s arrest were entitled to rely on Castillo’s

knowledge and judgment in these circumstances.

     Thompson argues that the fact that he called 911 and made

statements to the police about being attacked by Porles was

sufficient to demonstrate that he had acted in self defense and

to vitiate any probable cause for his arrest that would

otherwise exist.    Thompson’s assertions of self defense,

however, do not destroy the probable cause for his arrest.             The

arresting officers in this case were not required to credit his

statements in the face of information to the contrary, nor to

conduct a mini trial on the issue before making a decision

regarding his arrest.    While Thompson may have prevailed on a

                                    8
         Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 9 of 13



self defense theory had his criminal case moved forward, the

officers had sufficient probable cause to effectuate his arrest.

     Thompson also appears to argue that no probable cause for

the arrest existed because Capellan, who is listed on his arrest

paperwork as the arresting officer, did not herself possess

sufficient information to believe that Thompson had committed a

crime.     This notion is incorrect.       Castillo gathered sufficient

information to provide probable cause for Thompson’s arrest.

Under the collective or imputed knowledge doctrine, this

information provided probable cause for the arrest even if made

by Capellan.

Malicious Prosecution

     Thompson also claims malicious prosecution in violation of

the Fourth and Fourteenth Amendments.          To establish a malicious

prosecution claim, a plaintiff must prove “(1) the commencement

or continuation of a criminal proceeding by the defendant

against the plaintiff, (2) the termination of the proceeding in

favor of the accused, (3) the absence of probable cause for the

criminal proceeding and (4) actual malice.”           Dufort v. City of

New York, 874 F.3d 338, 350 (2d Cir. 2017) (citation omitted).

“[F]ederal law defines the elements of a § 1983 malicious

prosecution claim” and “requir[es] affirmative indications of

innocence to establish ‘favorable termination.’”            Lanning v.

City of Glens Falls, 908 F.3d 19, 25 (2d Cir. 2018).             “[W]here a

                                       9
        Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 10 of 13



dismissal . . . leaves the question of guilt or innocence

unanswered, it cannot provide the favorable termination required

as the basis for” a claim of malicious prosecution.            Id. at 28-

29 (citation omitted).       To satisfy the malice requirement, the

plaintiff must show that the “criminal prosecution was commenced

or continued against him with malice, i.e., with a wrong or

improper motive, something other than a desire to see the ends

of justice served.”       Fulton v. Robinson, 289 F.3d 188, 198 (2d

Cir. 2002) (citation omitted).        “[T]he existence of probable

cause is a complete defense to a claim of malicious

prosecution.”      Stansbury v. Wertman, 721 F.3d 84, 94-95 (2d Cir.

2013) (citation omitted).        “The probable cause standard in the

malicious prosecution context is slightly higher than the

standard for false arrest cases.”          Id. at 95.   “Probable cause,

in the context of malicious prosecution, has . . . been

described as such facts and circumstances as would lead a

reasonably prudent person to believe the plaintiff guilty.”               Id.

(citation omitted).

     Thompson’ claim for malicious prosecution fails because he

cannot show that his criminal case was favorably terminated.

The dismissal of his case on speedy trial grounds does not

affirmatively indicate his innocence, as required under Section

1983.    Thompson’s claim for malicious prosecution also fails

because the undisputed facts show that probable cause existed.

                                      10
     Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 11 of 13



Even under the higher standard for probable cause in this

context, Porles’ statements to Castillo, Thompson’s own

admission that he punched Porles, and the officers’ observations

of Porles’ injuries provide sufficient information for a

reasonably prudent person to believe that Thompson was guilty of

assault.

Substantive Due Process

     Thompson’s claim of violation of his Fourteenth Amendment

right to substantive due process also fails.        To establish a

violation of substantive due process, a plaintiff must

demonstrate that “the state action was so egregious, so

outrageous, that it may fairly be said to shock the contemporary

conscience.”   Southerland v. City of New York, 680 F.3d 127,

151-52 (2d Cir. 2012) (citation omitted).       Based on the

undisputed facts at issue in this case, it cannot be said that

the Defendants’ arrest of Thompson shocks the conscience.

Thompson’s key claim here is that the Defendants did not

sufficiently credit his claim of self defense.        The Defendants,

however, had no affirmative duty to further investigate this

claim and no obligation to credit Thompson’s statements over

contrary information.

Municipal Liability

     Thompson’s claim for municipal liability must also be

rejected.   “Section 1983 imposes liability on a government that,

                                   11
     Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 12 of 13



under color of some official policy, causes an employee to

violate another's constitutional rights.”       Okin v. Village of

Cornwall-on-Hudson Police Dep't, 577 F.3d 415, 439 (2d Cir.2009)

(quoting Monell v. Dep't of Soc. Servs., 436 U.S. 658, 692

(1978)).    “To prevail against a municipality on a § 1983 claim,

a plaintiff must demonstrate both an injury to a

constitutionally protected right and that the injury was caused

by a policy or custom of the municipality or by a municipal

official responsible for establishing final policy.”         Hartline

v. Gallo, 546 F.3d 95, 103 (2d Cir.2008) (citation omitted).

Because, as discussed above, Thompson cannot show injury to any

constitutionally protected rights, his claim for municipal

liability fails.

Amendment

     In opposition to this motion, Thompson seeks to amend his

complaint to add Castillo as a defendant.       The request is

untimely.   It is also denied as futile.      Had Thompson timely

amended his complaint to name Castillo as the John Doe

defendant, summary judgment would be granted in favor of

Castillo.




                                   12
     Case 1:17-cv-03064-DLC Document 40 Filed 01/10/19 Page 13 of 13




                                 Conclusion

     The Defendants’ October 5, 2018 motion for summary judgment

is granted.   The Clerk of Court shall enter judgment for the

Defendants and shall close the case.


Dated:    New York, New York
          January 10, 2019




                                 __________________________________
                                           DENISE COTE
                                   United States District Judge




                                   13
